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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




ELEVATED AG, LLC , ET AL. ,                               JUDGMENT IN A CIVIL CASE

                                                       CASE NO: 1:24−CV−01372−KES−SKO
                   v.

KEVIN ASSEMI ,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:


       IT IS ORDERED AND ADJUDGED THAT JUDGMENT IS HEREBY
       ENTERED IN ACCORDANCE WITH THE COURT'S ORDER FILED
       ON 7/11/2025 .


    ENTERED:      July 11, 2025               /s/ Keith Holland
                                                 Clerk of Court
